       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Howard Allen Groffel
        v. Commonwealth of Virginia
        Record No. 0485-18-2
        Opinion rendered by Chief Judge Decker on
        August 20, 2019

    2. Ronnie Leon Bryant
        v. Commonwealth of Virginia
        Record No. 1907-17-4
        Opinion rendered by Judge Humphreys on
        September 10, 2019
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Robert McKinley Blankenship
   v. Commonwealth of Virginia
   Record No. 1366-17-3
   Opinion rendered by Judge O’Brien
    on February 5, 2019
   Refused (190299)

2. James Wesley Amonett, Jr.
    v. Commonwealth of Virginia
   Record No. 1613-17-4
    Opinion rendered by Judge Humphreys
     on February 19, 2019
    Refused (190363)

3. Jeffrey Dean Bondi
    v. Commonwealth of Virginia
   Record No. 1676-17-1
    Opinion rendered by Judge O’Brien
     on March 26, 2019
    Refused (190583)

4. Eric William Wandemberg
   v. Commonwealth of Virginia
   Record No. 0137-18-2
   Opinion rendered by Judge Humphreys
     on April 2, 2019
   Refused (190552)
      The Supreme Court issued opinions in the following cases, which had been appealed
from this Court:

   1. Latoya Denise Jefferson
      v. Commonwealth of Virginia
      Record No. 0638-17-3
      Memorandum opinion rendered by Judge Malveaux on March 20, 2018
      (Delayed appeal awarded by the Supreme Court on August 14, 2018)
      Judgment of Court of Appeal affirming convictions affirmed; remanded to
       this Court for remand to trial court for determination of amount of restitution
       by opinion rendered on October 24, 2019
      (181114)

   2. James David Everett, II
      v. Kathryn Jean Tawes
      Record No. 1838-17-1
      Memorandum opinion rendered by Retired Judge Bumgardner on July 10, 2018
      Judgment of Court of Appeal reversed and matter remanded to trial court for
       consideration of the motion to reconsider pendente lite spousal support by
       opinion rendered on October 31, 2019
      (181238)

   3. Noah Salim Burnham
      v. Commonwealth of Virginia
      Record No. 2018-17-2
      CAV petition for appeal denied by Judge O’Brien on July 25, 2018
      Judgment of Court of Appeals affirmed in part and reversed in part and remanded
       to trial court for entry of a new probation violation order regarding the
       misdemeanor conviction by opinion rendered on October 31, 2019
      (181096)
